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                                                         November 26, 2023

 Hon. Kiyo A. Matsumoto
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Courtroom 6C-S
 Brooklyn, New York 11201

                 Re: LaNasa, et al. v. Stiene, 22-cv-5686

 Your Honor:

 I am counsel to the Plaintiffs in the above-referenced civil action.

 As a supplement to my earlier letter I received a response after I filed my letter. As such, Plaintiffs
 agree to the following amendments and corrections as set forth by the Defendants’ counsel in an email
 received this afternoon::

       The January 23, 2023 first amended complaint (FAC), directing you to retract false
      representations regarding Lanasa’s criminal history and drop Lois as a Defendant.
      Although you have expressed no intent to remove, e.g., the five specific false allegations
         the FAC makes against Lois, which we brought to your attention in detail, for the purpose
         of this email, I consider you to be making a reasonable effort to comply with the portion
         of our Rule 11 notice directed to the FAC.
          Plaintiffs’ April 18, 2023 brief in opposition to Defendants’ Fed. R. Civ. P. 12(b)
         motion to dismiss also stated “it is false” to refer to Plaintiff Lanasa as “a convicted
         criminal” or “a party having a ‘criminal history.'"
      You ignored 100% of this request, which remains particularly important in view of the
         fact that the Court has yet to render a decision on this dispositive motion. Defendants'
         strongly object to this status quo, i.e., permitting the Court to render a decision predicated
         upon multiple false representations in Plaintiffs’ opposition papers.
          Plaintiffs’ October 25, 2023 opposition to Defendants’ October 20, 2023 letter motion
         memorializing Lanasa's perjurious statements again falsely informed the Court that “Mr.
         Lanasa does not have [a] criminal record,” continuing to mislead the Court by indicating
         the FBI confirmed "Mr. Lanasa does not have the criminal record" we brought to your
         attention by providing you a certified copy of a Lanasa criminal conviction no later than
         May 8, 2023 (see, e.g., ECF No. 35).
      You ignored 100% of this request.
          Plaintiffs’ November 6, 2023 response (ECF No. 53) to Defendants’ October 31, 2023
         letter motion again stated “Plaintiff LANASA has no criminal history other than an
         incident that happened in 1989 while on leave from the Army," and continued to falsely
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        state “Defendants were totally silent regarding their Discovery demands until their filing
        on the last day of Discovery (October 31).”

 To be clear: Plaintiffs waive any arguments and claims based upon an assertion that Mr. Lanasa
 had no criminal record. And, withdraw any claims as against Lois Stiene, based upon Defendants’
 counsels’ respresentations.

 Hopefully, this will obviate the need for further Motion practice on these issues, and allow the case
 to proceed on the merits.



                                                               Respectfully submitted,


                                                               /s/ Bernard V. Kleinman
                                                               Bernard V. Kleinman, Esq.
                                                               Attorney for Plaintiffs

 cc: All counsel of record by ECF
